6/22/2020               Case MDL No. 2741 CM/ECF
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                                                           6.3.3 - U.S. Filed    06/22/20
                                                                        District Court,           Page 1 of 38
                                                                                        Northern Illinois

                                                                                                                     MIDP,VALDEZ

                                        United States District Court
                      Northern District of Illinois - CM/ECF LIVE, Ver 6.3.3 (Chicago)
                              CIVIL DOCKET FOR CASE #: 1:20-cv-02921


 Mosqueda v. Monsanto Company, Inc.                                                    Date Filed: 05/15/2020
 Assigned to: Honorable Edmond E. Chang                                                Jury Demand: Plaintiff
 Cause: 28:1332 Diversity-Product Liability                                            Nature of Suit: 360 P.I.: Other
                                                                                       Jurisdiction: Diversity
 Plaintiff
 Otilia Mosqueda                                                          represented by Bryce Thomas Hensley
                                                                                         Romanucci & Blandin, Llc
                                                                                         321 N Clark Street
                                                                                         Suite 900
                                                                                         Chicago, IL 60654
                                                                                         (312) 458-1000
                                                                                         Email: bhensley@rblaw.net
                                                                                         ATTORNEY TO BE NOTICED


 V.
 Defendant
 Monsanto Company, Inc.


  Date Filed            # Docket Text
  04/24/2020            2 ORDER Third Amended General Order 20-0012 IN RE: CORONAVIRUS COVID-19
                          PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R. Pallmeyer on April 24,
                          2020. All open cases are impacted by this Third Amended General Order. Parties must
                          carefully review all obligations under this Order, including the requirement listed in
                          paragraph number 5 to file a joint written status report in most civil cases. See attached
                          Order. Signed by the Honorable Rebecca R. Pallmeyer on 4/24/2020 (rc, ) (Entered:
                          05/18/2020)
  05/15/2020            1 COMPLAINT filed by Otilia Mosqueda; Jury Demand. Filing fee $ 400, receipt number
                          0752-17017800. (Attachments: # 1 Civil Cover Sheet)(Hensley, Bryce) (Entered:
                          05/15/2020)
  05/18/2020                CASE ASSIGNED to the Honorable Edmond E. Chang. Designated as Magistrate Judge the
                            Honorable Maria Valdez. Case assignment: Random assignment. (txl, ) (Entered:
                            05/18/2020)
  05/18/2020            3 NOTICE TO THE PARTIES - The Court is participating in the Mandatory Initial Discovery
                          Pilot (MIDP). The key features and deadlines are set forth in this Notice which includes a
                          link to the (MIDP) Standing Order and a Checklist for use by the parties. In cases subject to
                          the pilot, all parties must respond to the mandatory initial discovery requests set forth in the
                          Standing Order before initiating any further discovery in this case. Please note: The
                          discovery obligations in the Standing Order supersede the disclosures required by Rule
                          26(a)(1). Any party seeking affirmative relief must serve a copy of the following documents
                          (Notice of Mandatory Initial Discovery and the Standing Order) on each new party when
https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?732201635079736-L_1_0-1                                                       1/2
6/22/2020               Case MDL No. 2741 CM/ECF
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                          the Complaint, Counterclaim, Crossclaim, or Third-Party Complaint is served. (gcy, )
                          (Entered: 05/18/2020)
  05/26/2020            4 ORDER ORDER Fourth Amended General Order 20-0012 IN RE: CORONAVIRUS
                          COVID-19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R. Pallmeyer on
                          May 26, 2020. This Order does not extend or modify any deadlines set in civil cases. For
                          non-emergency motions, no motion may be noticed for presentment on a date earlier than
                          July 15, 2020. See attached Order. Signed by the Honorable Rebecca R. Pallmeyer on
                          5/26/2020: Mailed notice. (docket11, ) (Entered: 05/26/2020)
  05/29/2020            5 MINUTE entry before the Honorable Edmond E. Chang: Initial status hearing set for
                          07/28/2020 at 9:00 a.m. The parties must file a joint initial status report with the content
                          described in the attached status report requirements by 07/20/2020. Plaintiff must still file
                          the report even if Defendant has not responded to requests to craft a joint report. If not all
                          Defendants have been served, then Plaintiff must complete the part of the report on the
                          progress of service. Also, counsel (or the parties, if proceeding pro se) must carefully
                          review Judge Chang's Case Management Procedures, available online at ilnd.uscourts.gov
                          (navigate to Judges / District Judges / Judge Edmond E. Chang). Because the Procedures are
                          occasionally revised, counsel (or the party, if proceeding pro se) must read them anew even
                          if the counsel or the party has appeared before Judge Chang in other cases. Emailed notice
                          (mw, ) (Attachment(s) # 1 Status Report Requirements) . (Entered: 05/29/2020)
  06/12/2020                SUMMONS Issued as to Defendant Monsanto Company, Inc. (ng, ) (Entered: 06/12/2020)



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                       UNITED ST.ATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS


 OTILIA MOSQUEDA,

              Plaintiff,                        No.: 20-CV•2921

       V.

1VIONSANTO COMPANY, INC.
                                                    '   l          i
              Defendant                     +


                               COlVIPLAINT .AT LAW

      NOW COl✓IES the Plaintiff, Otilia Mosqueda, by and through her attorneys,

ROMANUCCI & BLANDIN, LLC, and in her Complaint at Law against Defendant

Monsanto Company, Inc. (hereinafter referred to as "Monsanto"); pleading

hypotheticaily and in the alternative, hereby states as follows.

   I. INTRODUCTION

      1.     In 1970, Defendant Monsanto discovered the herbicidal properties of

glyphosate and began marketing it in products in 1974 under the brand name

Roundup®.

      2.     Since that time, Defendant Monsap_to has marketed and sold

Roundup®, its formulations, and derivative products, including, but not limited to:

RoundUp Quick-Pro, Roundup Concentrate Poison ivy ancl Tough Brush Killer 1,

Roundup Custom Herbicide, Roundup D-Pak Herbicide, Roundup Dry Concentrate,

Roundup Export Herbicide, Roundup Fence 8i Hard Edger 1, Roundup Garden Foara

Weed & Grass Killer, Roundup Grass and Weed Killer, Roundup Herbicide, Roundup
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Originai 2k Herbicide, Roundup Original II Herbicide, Roundup Pro Concentrate,

Roundup Prodry Herbicide, Roundup Promax, Roundup Quik Stik Grass and. Weed

Killer, Roundup Quikpro Herbicide, Roundup Rainfast Concentrate Weed & Grass

Killer, Roundup Rainfast Super Concentrate Weed &,Grass Killer, Roundup Ready-

to-Use Extended Coritrol Weed & Grass Killer 1 Plus Weed Preventer, Roundup

Ready-to-Use Weed & Grass Killer, Roundup Ready-to-Use Weed and Grass Killer 2,

Roundup Ultra Dry, Roundup Ultra Herbicide, Roundup Ultramax, Roundup VM

Herbicide, Roundup Weed & Grass Killer Concentrate, Roundup Weed & Grass Killer

Concentrate Plus, Roundup Weed & Grass Killer Ready-to-Use Plus, Roundup Weed

& Grass Killer. Super. Concentrate, Roundup Weed & Grass Killer 1 Ready-to-Use,

Roundup WSD Water Soluble Dry Herbicide Deploy Dry Herbicide, or any other

formulation of containing the active ingredient glyphosate, hereinafter referred to

collectively as, "Roundup®" and/or "Roundup."

      3.    Roundup® is a non-selective herbicide used to kill weeds that commonly

compete with the growing of crops. By 2001, glyphosate had become the most-used

active ingredient in American agriculture with 85-90 millions of pounds used

annually. That number grew to 185 million pounds by 2007. As of 2013, giyphosate

was the world's most widely used herbicide.

      4.    Defendant Monsanto is a multinational agricultural biotechnology

corporation based in St. Louis, Missouri. It is the world's leading producer of

glyphosate. As of 2009, Defendant Monsanto was the world's leading producer of

seeds, accounting for 27% of the world seed market. The majority of these seeds are


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        of the Roundup Ready® brand. The stated advantage of Roundup Ready® crops is

        that they substantially improve a farmer's ability to control weeds, since glyphosate

        can be sprayed in the fields during the growing season without harming their crops.

        In 2010, an estimated 70% of corn and cotton, and 90% of soybean fields in the United

        States were Roundup Ready®.

              5.      Defendant Monsanto's glyphosate products and giyphosate-based

        formulations are registered in 130 countries and approved for use on over 100

        different crops. They are ubiquitous in the environment. Plumerous studies confirm

        that glyphosate is found in rivers, streams, and groundwater in agricultural areas

        where Roundup® is used. It has been found in food, in the urine of agricultural

        workers, and even in the urine of urban dwellers who are not in direct contact with

        glyphosate.

              6.      On IUYarch 20, 2015, the International Agency for Research on Cancer

        ("IARC"), an agency of the Worid Health Organization ("WHO"), issued an evaluation

        of several herbicides, including glyphosate. That evaluation was based, in part, on

-   I   studies of exposures to glyphosate in several countries around the world and it has

        traced the health implications from exposure to glyphosate since 2001.

              7.      On July 29, 2015, IARC issued the formal monograph relating to

        glyphosate. In that monograph, the IA.RC Working Group provides a thorough review

        of the numerous studies and data relating to glyphosate exposure in humans.

              8.      The IARC Working Group classified glyphosate as a Group 2A

        carcinogeri, which means that it is probably carcinogenic to humans. The IARC


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Working Group concluded that the cancers most associated with glyphosate exposure

are non-Hodgkin's lymphoma and other hematopoietic cancers, including

lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell lymphoma, and

multiple myeloma.

         9.      The IARC evaluation is significant. It confirms what has been believed

for years: that glyphosate is toxic to humans.

         10.     More likely than not, glyphosate causes non-Hodgkin's lymphoma.

         11.     More likely than not, glyp hosate -based formulations cause non-

Hodgkin's lymphoma.

         12.     More likely than not, Roundup causes non-Hodgkin's lymphoma.

         13.     Nevertheless, Defendant Monsanto, since it began selling Roundup®,

has represented it as safe to humans and the environment. Indeed, Defendant

Monsanto has repeatedly proclaimed and continues to proclaim to the world, and

particularly to United States consumers, that glyphosate-based herbicides, including

Roundup@, create no unreasonable risks to human health or to the environment.

   II.         SZJBeTECT MATTER JIJR,YSDICTI®N

         14.     This Court has subject matter jurisdiction over this matter pursuant to

28 U.S.C.§ 1332(a)(1) as the parties in this action are citizens of different states and

the amount in controversy, exclusive of interest and costs, exceeds $75,000.00.

   III. PERSDNAL JURISDICTIDN

         15.     The Northern Disti~ict of Illinois has personal jurisdiction over

Defendant Monsanto because Defendant Monsanto is authorized to do business in


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Illinois and has sufficient minimum contacts within this judicial district, or otherwise

intentionally avails itself of this judicial district's market so as to render the exercise

of jurisdiction over it by this court consistent with traditional notions of fair play and
substantial justice.

        16.      Defendant Monsanto's minimum contacts within this judicial district

are sufficiently related to Plaintiffs exposure, diagnosis, and claim in this matter to

render personal jurisdiction in this judicial district proper.

   IV. VENLTE

        17.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because a substantial

part of the events or omissions giving rise to Plaintiffs claim occurred in this judicial

district.

        18. Specifically, Plaintiffs exposure to Defendant Monsanto's Roundup®

product and resultant diagnosis with large, B-cell, non-Hodgkin's lymphoma all took

place within this judicial district.                   —

   V.          TBE PARTIES



        19.      Plaintiff Otilia Mosqueda is currently a citizen of the city of Chicago,

County of Cook, State of Illinois.

         20.     In June 2019, Otilia Mosqueda, then a 59-year-o1d citizen of the city of .

Chicago, County of Cook, State of Illinois, was diagnosed with large, B-cell non-

Hodgkin's lymphoma.
         21. Otilia Mosqueda was a homeowner from approximately 2004-2011 in


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Chicago, Illinois. During that time, Otilia Mosqueda regularly used Roundup®

products at her home to manage weeds in her lawn, flower beds, sidewalks, and

driveways.

                                      Defendants

         22.   Monsanto Company, Inc. is a Delaware coi-poration, Illinois Secretary of

State ID No. 61261028, with its headquarters and principal place of business in St.

Louis, Missouri, authorized to do business in the State of Illinois that conducted

significant business within this judicial district at all times relevant herein.

        23.    At all times relevant to this complaint, Defendant Monsanto discovered

the herbicidal properties of glyphosate and was the manufacturer of Roundup®.

        24.    Defendant Monsanto has regularly transacted and conducted business

within this judicial district for years, and has derived substantial revenue from goods

and products, including Roundup®, used in this judicial district during that same

time.                                                         -

        25.    Defendant Monsanto expected or should have expected their acts to have

consequences within the State of Illinois, and derived substantial revenue from

interstate commerce.

        26.    Plaintiff is informed and believes that Defendant Monsanto did design,

sell, advertise, manufacture, and/or disti-ibute Roundup® with full knowledge of its

dangerous and defective nature.

        27.    Plaintiff is informed and believes that in committing the acts alleged

herein, each and every managing agent, agent, representative and/or employee of the


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Defendant was working within the course and scope of said agency, representation

and/or employment with the knowledge, consent, ratification, and authorization of

the Defendant and their directors, officers and/or managing agents.

   zTl. FfiCTS COMMON TO ALL C®UN'I`S

      28.     Glyphosate is a broad-spectrum, non-selective herbicide used in a wide

variety of herbicidal products around the world.

      29.    Flants treated with glyphosate translocate the systemic herbicide to

their roots, shoot regions and fruit, where it interferes with the plant's ability to forrn

aromatic amino acids necessary for protein synthesis. Treated plants generally die

within two to three days. Because plants absorb glyphosate, it cannot be completely

removed by wasliing or peeling produce or by milling, baking, or brewi.ng grains.

      30.     For nearly 40 years, farms across the world have used Roundup®

without knowing of the dangers its use poses. That is because when Defendant

Monsanto first introduced Roundup@, it touted glyphosate as a technological

breakthrough: it could kill almost every weed without causing harm either to people

or to the environment. Of course, history has shown that not to be true. According to

the WHO, the main chemical ingredient of Roundup®--glyphosate—is a probable

cause of cancer. Defendant Monsanto assured the public that Roundup@ was

harmless. In order to prove this, Defendant Monsanto championed falsified data and

attacked legitimate studies that revealed its dangers. Defendant lYIonsanto led a

prolonged campaign of misinformation to convince government agencies, farmers aiid

the general population that Roundup® was safe.


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            The Discoveay of GIyphosate and Development oflZoundup®

      31.    Tlie herbicidal properties of glyphosate were discovered in 1970 by

Defendant Monsanto chemist John Franz. The first glyphosate-based herbicide was

introduced to the market in the mid-1970s under the brand name Roundup®. From

the outset, Defendant Monsanto marketed Roundup® as a"safe" general-purpose

herbicide for widespread commercial and consumer use. It still markets Roundup®

as safe today.

                    Rsgistrataon ol'Herbicides underl'ederal Law

      32.    The manufacture, formulation, and distribution of herbicides, such as

Roundup®, are regulated under the Federal Insecticide, Fungicide, and Rodenticide

Act ("FIFRA" or "Act"), 7 U.S.C. § 186 et seq. FIFRA requires that all pesticides be

registered with the Environmental Protection Agency ("EPA" or "Agency") prior to

their distribution, sale, or use, except as described by the Act. 7 U.S.C. § 136a(a)

      33.    Because pesticides are toxic to plants, animals, and humans, at least to

some degree, the EPA requires as part of the registration process, among other

things, a variety of tests to evaluate the potential for exposure to pesticides, toxicity

to people and other potential non-target organisms, and other adverse effects on the

environment. Registration by the EPA, however, is not an assurance or finding of

safety. The determination the Agency must make in registering or re-registering a

product is not that the product is "safe," but rather that use of .the product in

accordance with its label directions "will not generally cause unreasonable adverse

effects on the environment." 7 U.S.C. § 136a(c)(5)(D).


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           34.    FIFRA defines "unreasonable adverse effects on the environment" to

     mean "any unreasonable risk to man or the environment, taking into account the

     economic, social, and environmental costs and benefits of the use of any pesticide." 7

     U.S.C. § 136(bb). FIFRA thus requires EPA to make a risk/benefit analysis in

     determining whether a registration should be granted or allowed to continue to be

     sold in commerce.

           35.    The EPA and the State of Illinois registered Roundup® for distribution,

--   sale, and manufacture in the United States and the State of Illinois.

           36.    FIFRA generally requires that the registrant, Defendant Monsanto in

     the case of Roundup®, conducts the health and safety testing of pesticide products.

     The EPA has protocols governing the conduct of tests required for registration and

     the laboratory practices that must be followed in conducting these tests. The data

     produced by the registrant must be submitted to the EPA for review and evaluation.

     The government is not required, nor is it able, however, to perform the product tests

     that are required of the manufacturer.

           37.    The evaluation of each pesticide product distributed, sold, or

     manufactured is completed at the tinie the product is initially registered. The data

     necessary for registration of a pesticide has changed over time. The EPA is now in

     the process of re-evaluating all pesticide products through: a Congressionally-

     mandated process called "re-registration." 7 U.S.C. § 136a-1. In order to reevaluate

     these pesticides, the EPA is demanding the completion of additional tests and the

     submission of data for the EPA's review and evaluation.


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      38.    In the case of glyphosate, and therefore Roundup®, the EPA had

planned on releasing its preliminary risk assessment —in relation to the

reregistration process—no later than July 2015. The EPA completed its review of

glyphosate in early 2015, but it delayed releasing the risk assessment pending furthep

review in light of the WHO's health-related findings.

    Scientffc Fra ud Underlyizrg the Marl{etiBg and Sa1e ofGlypbosate/Rouhdup

      39.    Based on early studies that glyphosate could cause cancer in laboratory

animals, the EPA originally classified glyphosate as possibly carcinogenlc to humans

(Group C) in 1985. After pressure from Defendant Monsanto, including contraiy

studies it provided to the EPA, the EPA changed its classification to evidence ofnon-

ca3•cinogeniclty in h umans (Group E) in 1991. In so classifying glyphosate, however,

the EPA made clear that the designation did not mean the chemical does not cause

cancer: "It should be emphasized, however, that designation of an agent in Group E

is based on the available evidence at the time of evaluation and should not be           --

interpreted as a definitive conclusion that the agent will not be a carcinogen under

any circumstances."

      40.    On two occasions, tne EPA found that the laboratories hired by

Defendant Monsanto to test the toxicity of its Roundup® products for registration

purposes committed fraud.

      41.    In the first instance, Defendant Monsanto, in'seeking initialregistration

of Roundup® by EPA, hired Industrial Bio-Test Laboratories ("IBT") to perform and

evaluate pesticide toxicology studies relating to Roundup®. IBT performed about 30


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tests on giyphosate and glyphosate-based formulations, including nine of the 15 '

residue. studies needed to register Roundup®.

      42.    In 1976, the United States Food and Drug Administration ("FDA")

performed an inspection of Industrial Bio-Test Industries ("IBT") that revealed

discrepancies between the raw data and the final report relating to the toxicological

impacts of glyphosate. The EPA subsequently audited IBT,' it too found the toxicology

studies conducted for the Roundup® herbicide to be invalid. An EPA reviewer stated,

after finding "routine falsification of data" at IBT, that it was "hard to believe the

scientific integrity of the studies when they said they took specimens of the uterus

from male rabbits."

      43.    Three top executives of IBT were convicted of fraud in 1983.

      44.    In the second incident of data falsification, Defendant Monsanto hired

Craven Laboratories in 1991 to perform pesticide and herbicide studies, including for

Roundup®. In that same year, the owner of Craven Laboratories and three of its .

employees were indicted, and later convicted, of fraudulent laboratory practices in

the testing of pesticides and herbicides.

      45.    Despite the falsity of the tssts that underlie its registration, within a

few years of its launch, Defendant Monsanto was marketing Roundup® in 115.

countries.

 Ti'ae Importance ofRouxadup® to Det°endantMon9anto'a lllarket Dominance Proffts
                               ~
       46. The success of Roundup® was key to Defendant 1VIonsanto's continued

reputatiori and dominance in the marketplace. Largely due to the success of
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Roundup® sales, Defendant Monsanto's agriculture division was out-performing its

chemicals division's operating income, and that gap increased yearly. ]But with its

patent for glyphosate expiring in the United States in the year 2000, Defendant

Monsanto needed a strategy to maintain its Roundup® market dominance and to

ward off impending competition.

      47.    In response, Defendant Monsanto began the development and sale of

genetically engineered Roundup Ready® seeds in 1996. Since Roundup Ready® crops

are resistant to glyphosate; farmers can spray Roundup® onto their fields during the

growing season without harming the crop. This allowed Defendant Monsanto to

expand its market for Roundup® even further; by 2000, Defendant Monsanto's

biotechnology seeds were planted on more than 80 million acres worldwide and nearly

70% of Arnerican soybeans were planted fiom Roundup Ready® seeds. It also secured

Defendant 1VTonsanto's dominant share of the glyphosate/Roundup® market through

a marketing strategy that coupled proprietary - Roundup Ready® seeds with

continued sales of its Roundup® herbicide.

      48.    Through a three-pronged strategy of increased production, decreased

prices and by coupling Roundup® with Roundup Ready® seeds, Roundup® became

Defendant Monsanto's most profitable product. In 2000, Roundup® accounted for

almost $2.8 biliion in sales, outselling other herbicides by a margin of five to one, and

accounting for close to half of Defendant Monsanto's reve-nue. Today, glyphosate

remains one of the worid's largest herbicides by sales volume.




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             Defendant 1~Ylonsanto ha,s drnotvn for decades that it falsely advertises tlae safety of
                                                Boundrap®

                  49. In 1996, the New York Attorney General ("NYAG") filed a lawsuit

           against Defendant Monsanto based on its false and misleading advertising. of

           Roundup ® products. Specifically, the lawsuit chal_lenged Defendant Monsanto's

           general representations that its spray-on glyphosate-based herbicides, including

           Roundup®, were "safer than table salt" and "practicall.y non-toxic" to mammals,

-   -   --- birds; and fish. Among the-representations the NY-AG-found-deceptive.and misleading_ ___ __   _

           about the human and environmental safety of Roundup® are the following:

                         a) Remember that environmentally friendly Roundup herbicide is
                            biodegradable. It won't build up in the soil so you can use Roundup
                            with confidence along customers' driveways, sidewalks and fences ...

                         b) And remember that Roundup is biodegradable and won't build up in
                            the soil. That will give you the environmental confidence you need to
                            use Roundup everywhere you've got a weed, brush, edging or
                            trimming problem.

                         c) Roundup biodegrades into naturally occurring elements.

                         d) Remember that versatile Roundup herbicide stays where you put it.
                            That means there's no washing or leaching to harm customers'
                            shrubs or other desirable vegetation.

                         e) This non-residual herbicide will not wash or leach in the soil. It ...
                            stays where you apply it.

                         ~ You can apply Accord with "confidence because it will stay where you
                            put it" it bonds tightly to soil particles, preventing leaching. Then,
                            soon after application, soil microorganisms biodegrade Accord into
                            natural products.

                         g) Glyphosate is less toxic to rats than table salt following acute oral
                            ingestion.

                         h) Glyphosate's safety margin is much greater than required. It has

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                over a 1,000-fold safety margin in food and over a 700-fold safety
                margin for workers who manufacture it or use it.

             i) You can feel good about using herbicides by Monsanto. They carry a
                toxicity category rating of `practically non-toxic' as it pertains to
                mammals, birds and fish.

             j) "Roundup can be used where kids and pets will play and breaks down
                into natural material." This ad depicts a person with his head in the
                ground and a pet dog standing in an area which has been treated
                with Roundup.

      50.    On November 19, 1996, Defendant Monsanto entered into an Assurance

of Discontinuance with NYAG, in which Defendant Monsanto agreed, among other

things, "to cease and desist from publishing or broadcasting any advertisements [in

New York] that represent, directly or by implication" that:

             a) its glyphosate-based pesticide products or any component thereof are
                safe, non-toxic, harmless or free from risk.

             b) its glyphosate-based pesticide products or any component thereof
                manufactured, formulated, distributed or sold by Monsanto are
                biodegradable

             c) its glyphosate-based pesticide products or any component thereof
                stay where they are applied under all circumstances and will not
                move through the environment by any means.

             d) its glyphosate-based pesticide products or any component thereof are
                "good" for the environment or are "known for their environmental
                characteristics."

             e) glyphosate-based pesticide products or any component thereof are
                safer or less toxic than common consumer products other than
                herbicides;.
             f'} its glyphosate-based formulations or any component thereof might
                 be classified as "practically non-toxic."

      51.    Defendant Monsanto did not alter its advertising in the same manner


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in any state other than New York, and on information and belief still has not done so

today.

         52.   In 2009, France's highest court ruled that Defendant Monsanto had not

told the truth about the safety of Roundup®. The French court affirmed an earlier

judgement that Defendant Monsanto had falsely advertised its herbicide Roundup®

as "biodegradable" and that it "left the. soil clean."

                     Classi6cations aa2dAssesslnents ofGIyphosate

         53.   The IARC process for the classification of glyphosate followed the

stringent procedures for the evaluation of a chemical agent. Over time, the IARC

Monograph program has reviewed 980 agents. Of those reviewed, it has determined

116 agents to be Group 1(Known Human Car.cinogens); 73 agents to be Group 2A

(Probable Human Carcinogens); 287 agents to be Group 2B (Possible Human

Carcinogens); 503 agents to be Group 3(Not Classified); and one agent to be Probably

Not Carcinogenic.

         54.   The established procedure for IARC Monograph evaluations is described

in the IARC Programme's Preamble. Evaluations are perforined by panels of

international experts, selected on the basis of their expertise and the absence of

actual or apparent conflicts of interest.

         55.   One year before the Monograph meeting, the meeting is announced and

there is a call both for data and for experts. Eight months before the Monograph

meeting, the Working Group membership is selected and the sections of the

Monograph are developed by the Working Group members. One month prior to the


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Monograph meeting, the call for data is closed and the various draft sections are

distributed among Working Group members for review and comment. Finally, at the

Monograph meeting, the Working Group finalizes review of all literature, evaluates

the evidence in each category, and completes the overall evaluation. Within two

weeks after the Monograph meeting; the summary of the Working Group fandings are

published in Lancet Oncology, and within a year after the meeting, the final

Monograph is finalized and published.

      56.    In assessing an agent, the IARC Working Group reviews the following

information: (a) human, experimental, and mechanistic data; (b) all pertinent

epidemiological studies and cancer bioassays; and (c) representative mechanistic

data. The studies must be publicly available and have sufficient detail for-meaningful

review, and reviewers cannot be associated with the underlying study.

      57.    In March 2015, IARC reassessed glyphosate. The summary published in

The Lancet Oncology reported that glyphosate is a Group 2A agent and probably-

carcinogenic in humans.

      58.    On July 29, 2015, IARC issued its Monograph for glyphosate,

1Vlonograph 112. For Volume 112, the volume that assessed glyphosate, a Working

Group of 17 experts from 11 countries met at IARC from Ma3ch 3-10, 2015, to assess

the carcinogenicity of certain herbicides, including glyphosate. The March meeting

culminated nearly a one-year review and preparation by the IA.RC Secretariat and

the Working . Group, including a comprehensive review of -the latest available

scientific evidence. According to published procedures, the Working Group considered


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"reports that have been published or accepted for publication in the openly available

scientific literature" as well as "data from governmental reports that are publicly

available."

      59.     The studies considered the following exposure groups: occupational

exposure of farmers and tree nursery workers in the United States, forestry workers

in Canada and Finland and municipal weed-control workers in the United Kingdom;

and para-occupational exposure in farming families.

      60.     Glyphosate was identified as the second-most used household herbicide

in the United States for weed control between 2001 and 2007 and the most heavily

used herbicide in the world in 2012.

      61.     Exposure pathways are identified as air (especially during spraying),

water, and food. Community exposure to glyphosate is widespread and found in soil,

air, surface water, and groundwater, as well as in food.

      62.     -The assessment of the IAR.0 Working Group identified several case

control studies of occupational exposure in the United States, Canada, and Sweden.

These studies show a human health concern from agricultural and other work-related

exposure to glyphosate.

      63.     The IARC Working Group found an increased risk between exposure to

glyphosate and non-Hodgkin's lymphoma ("NHL") and several subtypes of NHL, and

the increased risk persisted after adjustment for other pesticides.

      64.     The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported


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increases in blood markers of chromosomal damage (micronuclei) after glyphosate

formulations were sprayed.

       65.   In male CD-1 mice, glyphosate induced a positive trend in the incidence

of a rare tumor, renal tubule carcinoma. A second study reported a positive trend for

hemangiosarcoma in male mice. Glyphosate increased pancreatic islet-cell adenoma

in male rats in two studies. A glyphosate formulation promoted skin tumors in an

initiation-promotion study in mice.

      66.    The IARC Working Group also noted that glyphosate has been detected

in the urine of agricultural workers, indicating absorption. Soil microbes degrade

glyphosate to aminomethylphosphoric acid (ANIPA). Blood AIVIPA detection after

exposure suggests intestinal microbial metabolism in humans.

      67.    The IARC Working Group further found that glyphosate and glyphosate

formulations induced. DNA and chromosomal damage in mammals, and in human

and animal cells in utero.

      68.    The IARC Working Group also noted genotoxic, hormonal, and

enzymatic effects in mammals exposed to glyphosate. Essentially, glyphosate inhibits

the biosynthesis of aromatic amino acids, which leads to several metabolic

disturbances, including the inhibition of protein and secondary product biosynthesis-

and general metabolic disruption.

      69.    The IARC Working Group also reviewed an Agricultural Health Study,

consisting of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and

North Carolina. While this study differed from others in that it was based on a self-


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administered questionnaire, the results support an association between glyphosate

exposure and IVlultiple Myeloma, Hairy Cell Leukemia. (HCL), and Chronic

Lymphocytic Leukemia (CLL), in addition to several other cancers.

       ®ther Earlier Findings About Glypbosate's Dangers. to Human hrea.ltb

      70.    The EPA has a technical fact sheet, as part of its Drinking Water and

Health, National Primary Drinking Water Regulations publication, relating to

glyphosate. This technical fact sheet predates the IARC March 20, 2015, evaluation.

The fact sheet describes the release patterns for glyphosate as follows:

                                     'Release Patterns

      Glyphosate is released to the environment in its use as an herbicide for

      controlling woody and herbaceous weeds on forestry, right-of-way, cropped and

      non-cropped sites. These sites may be around water and in wetlands. It may

      also be released to the environment during its manufacture, formulation,

      transport, storage, dispflsal and cleanup, and from spills. Since glyphosate is

      not a listed chemical in the Toxics Release Inventory, data on releases during

      its manufacture and handling are not available.

      Occupational workers and home gardeners may be exposed to glyphosate by

      inhalation and dermal contact during spraying, mixing, and cleanup. They

      may also be exposed by touching soil and plants to which glyphosate was

      applied. Occupational exposure may also occur during glyphosate's

      manufacture, transport storage, and disposal.

      In 1995, the Northwest Coalition for Alternatives to Pesticides reported that


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      in California, the state with the most comprehensive program for reporting of

      pesticide-caused illness, glyphosate was the third most commonly-reported

      cause of pesticide illness among agricultural workers.

                 Recent I<Yorldwide Bans oat Rouudup®/Glyphosate

      71.    Several countries around the world have instituted bans on the sale of

Roundup® and other glyphosate-based herbicides, both before and since IARC first

announced its assessinent for glyphosate in March 2015, and more countries

undoubtedly will follow suit in light of the as the dangers of the use of Roundup® are

more widely known.

      72.    The Netherlands issued a ban on all glyphosate-based herbicides in

April 2014, including Roundup©, which takes effect by the end of 2015. In issuing the

ban, the Dutch Parliament member who introduced the successful legislation stated:

"Agricultural pesticides in user-friendly packaging are sold in abundance to private

persons. In garden centers, Roundupg is promoted as har3nless, but unsuspecting

customers have no idea what the risks of this product are. Especially children are

sensitive to toxic substances and should therefore not be exposed to it."

      73.    The Brazilian Public Prosecutor in the Federal District requested that

the Brazilian Justice Department suspend the use of glyphosate.

      74.    France banned the private sale of Roundup® and glyphosate following

the IARC assessment for Glyphosate.

      75.    Bermuda banned both the private and commercial sale of giyphosates,

including Roundup®. The Bermuda government explained its ban as follows=


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"Following a recent scientific study carried out by a leading cancer agency, the

importation of weed spray `Roundup' has been suspended."

      76.    The Sri Lankan government banned the private and commercial use of

glyphosates, particularly out of concern that glypliosate has been linked to fatal

kidney disease in agricultural workers.

      77.    The government of Columbia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine,

because of the WHO's finding that glyphosate is probably carcinogenic.

                      Otilaa Mosqueda's E-yposure to Roundup®

      78.    Otilia Mosqueda purchased a home in Chicago, Illinois in 2004 where

she used Roundup® products to manage weeds in her lawn, flower beds, sidewalks,

and driveways from 2004 unti12011.

      79.    Throughout the spring, summer, and fall seasons of those seven years

years; Otilia Mosqueda would spray Roundup® products on her property at leasf once

a week .

      80.    After seven years of exposure to Roundup products, in June 2019, Otilia

Mosqueda was diagnosed with B-cell, non-Hodgkin's lymphoma.

                                  +COUNT I
                      STRICT LIARILITY (I)ESION DEFECT)
                            (Mosqueda v. Morisanto)

      81.    Plaintiff incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.-

      82.    Plaintiff brings this strict liability claim against Defendant Monsanto


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    for defective design.

          83.    Otilia Nlosqueda developed large, B-cell, non-Hodgkin's lymphoma

    which caused her inter alia pain, suffering, disability, disfigurement, and loss of

    normal life as a result of using Monsanto's Roundup products.

          84.    At the time Monsanto's Roundup products left its control, it was

    unreasonably dangerous in that it was a carcinogenic glyphosate-based formulation.

          85.    At all times relevant to this litigation, Defendant Monsanto engaged in

    the business of testing, developing, designing, manufacturing, marketing, selling,

    distributing, and promoting Roundup® products, which are defective and

    unreasonably dangerous to consumers and laborers using the products, including

    Otilia Mosqueda, thereby placing Roundup® products into the stream of commerce.

    These actions were under the ultimate control and supervision of Defendant

    Monsanto. At all times relevant to this litigation, Defendant Monsanto designed,

-   researched, developed, manufactured, produced, - tested, assembled, labeled,

    advertised, promoted, marketed, sold, and distributed the Roundup® products that

    Otilia Mosqueda was exposed to, as described above.

          86.    At all times relevant to this litigation, Defendant Monsanto's Roundup®

    products were manufactured, designed, and labeled in an unsafe, defective, and

    inherently dangerous manner that was dangerous for use by or exposure to the public,

    and, in particular, Otilia Mosqueda.

          87.    At all times relevant to this litigation, Defendant's Roundup® products

    reached the intended consumers, handlers, and users or other persons coming into


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    contact with these products in Illinois and throughout the United States, including

    Otilia Mosqueda, without substantial change in their condition as designed,

    manufactured, sold, distributed, labeled, and marketed by Defendant.

          88.    Defendant Monsanto's Roundup® products, as researched, tested,

    developed, designed, licensed, manufactured, packaged, labeled, distributed, sold,

    and marketed by Defendant Monsanto were defective in design and formulation in

    that when they left the hands of the Defendant Monsanto's manufacturers and/or

    suppliers, they were unreasonably dangerous and dangerous to an extent beyond that

    which an ordinary consumer would contemplate.

          89.    Defendant Monsanto's Roundup® products, as researched, tested,

    developed, designed, licensed, manufactured, packaged, labeled, distributed, sold,

    and marketed by Defendant 1Vlonsanto were defective in design and formulation in

    that when they left the hands of Defendant Monsanto's manufacturers andlor

-   suppliers, the foreseeable risks exceeded the alleged benefits -associated with their

    design and formulation.

          90.   At all times relevant to this action, Defendant Monsanto knew or had

    reason to know that its Roundup® products were defective and were inherently

    dangerous and unsafe when used in the manner instructed and provided by

    Defendant Monsanto.

          91.    Therefore, at all times relevant to this litigation; Defendant Monsanto's

    Roundup® products, as researched, tested, developed, designed, licensed,

    manufactured, packaged, labeled, distributed, sold and marketed by Defendant


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Monsanto were defective in design and formulation, in one or more of the following

ways•

             a. When placed in the stream of commerce, Defendant Monsanto's
                Roundup® products were defective in design and formulation, and,
                consequently, dangerous to an extent beyond that which an ordinary
                consumer would contemplate;

             b. When placed in the stream of commerce, Defendant Monsanto's
                Roundup® products were unreasonably dangerous in that they were
                hazardous and posed a grave risk of cancer and other serious
                illnesses when used in a reasonably anticipated manner;

             c. When placed in the stream of commerce, Defendant Monsanto's
                Roundup® products contained unreasonably dangerous design
                defects and were not reasonably safe when used in a reasonably
                anticipated or intended manner;

             d. Defendant Monsanto did not sufficiently test, investigate, or study
                its Roundup® products and, specifically, the active ingredient
                glyphosate;

             e. "Exposure to Roundup® and glyphosate-based formulations presents
                a risk of harmful side effects including without limitation causing
                non-Hodgkin's lymphoma, that outweigh any potential utility
                stemming from the use of the herbicide; - -

             f. Defendant Monsanto knew or should have known at the time of
                marketing its Roundup® products that exposure to Roundup® and
                specifically, its active ingredient glyphosate, could result in cancer
                and other severe illnesses and injuries;

             g. Defendant Monsanto did not conduct adequate post-marketiszg.
                surveillance of its Roundup® products; and/or

             h. Defendant Monsanto could have employed safer alternative designs
                and formulations.

        92. Otilia Mosqueda was exposed to Defendant Monsanto's Roundup®

products as a homeowner regularly and consistently using those products around her



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      93.    At all times relevant to this litigation, Otilia Mosqueda was exposed to

the use of Defendant Monsanto's Rouridup® products in an intended or reasonably

foreseeable manner without knowledge of their dangerous characteristics.

      94.    Otilia Mosqueda could not have reasonably discovered the defects and

risks associated with Roundup@ or glyphosate-based formulations before or at the

time of exposure.

      95.    The harm caused by Defendant Monsanto's Roundup® products, (i.e.

non-Hodgkin's lymphoma), far outweighed their benefit, getting rid of weeds,

rendering Defendant Monsanto's products dangerous to an extent beyond that which

an ordinary consumer would contemplate.

      96.    Defendant Monsanto's Roundup® products were and are more

dangerous than alternative products and Defendant Monsanto could have designed

its Roundup® products to make them less dangerous. Indeed, at the time that

Defendant Monsanto designed its Roundup® products, the state of the industry's

scientific knowledge was such that a less risky design or formulation was attainable.

      97.   At the time Roundup® products left Defendant Monsanto's control,

there was a practical, technically feasible and safer alternative design that would

have prevented the harm without substantially impairing the reasonably anticipated

or interided function of Defendant Monsanto's herbicides.

      98.   Therefore, as a result of the unreasonably dangerous condition of its

Roundup® products, Defendant Monsanto is strictly liable to Otilia Mosqueda.

      99.   The defects in Defendant Monsanto's Roundup® products were


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substantial and contributing factors in causing Otilia Mosqueda's grave and

permanent injuries,- including her large, B-cell, non-Hodgkin's lymphoma, and, but

for Defendant Monsanto's misconduct and omissions, Otilia Mosqueda would not

have sustained her injuries.

      100. Defendant Monsanto risked the lives of consumers and users of its

products, including Otilia Mosqueda, with knowledge of the safety problems

associated with Roundup® and glyp hosate -based formulations, and suppressed this

knowledge from the general public.

      101. As a direct proximate result of Defendant MONSANTO's wrongful acts

and omissions, Otilia Mosqueda has suffered and continues to suffer pecuniary loss

including without limitation injuries of a personal and pecuniary nature including,

but not limited to hospitai, medical, and related expenses; loss of income; disability

and disfigurement; loss of normal life; pain and suffering; risk of susceptibility and

future injury and relapse; and physical and emotional trauma.

      WHEREFORE, the plaintiff, Otilia Mosqueda, asks that a judgment be entered

against the defendant, 1Vionsanto Company, lnc., in a fair and just amount in excess

of SEjTENTY-FIVE THOUSAND DOLLARS ($75.,000.00) plus costs and any further

relief this court deems just.

                                  COUNT II
                     STRICT LIABILITY (FAILUR,E TO VtTARN)
                                (1Viosqueda v. Moneanto)

      102. Plaintiff incorporates by reference each and every allegation set,forth in

paragraphs 1 through 81 as if fully stated herein.


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      103. Plaintiff brings this strict liability claim against Defendant Monsanto

for failure to warn.

      104. Otilia 1Vlosqueda developed large, B-cell, non-Hodgkin's lymphoma

which caused her inter alia pain, suffering, disability, disf'igurement, and .loss "of

normal life as a result of using Monsanto's Roundup products.

      105. At the time Monsanto's Roundup products left its control, it was

unreasonably dangerous in that it was a carcinogenic glyphosate•based formulation.

      106. At all times relevant to this litigation, Defendant Monsanto engaged in

the business of testing, developing, designing, manufacturing, marketing, selling,

distributing, promoting and applying Roundup® products, which are defective and

unreasonably dangerous to consumers, including Otilia Mosqueda, because they do

not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and specifically, the active ingredient glyphosate. These

actions were under the ultimate control-and supervision of Defendant Monsanto. -

      107. Defendant Monsanto researched, developed, designed, tested,

manufactured, inspected, labeled, distributed, marketed, promoted, sold, and

otherwise released into the stream of commerce its Roundup@ products, and in the

course of same, directly advertised or marketed the products to consumers and end

users, including Otilia Mosqueda, and persons responsible for consumers (such as

employers), and therefore had a duty to warn of the risks associated with the use of

Roundup® and glyphosate-based formulations.

      108. At all times relevant to this litigation, Defendant Monsanto had a duty


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to properly test, develop, design, manufacture, inspect, package, label, market,

promote, sell, distribute, maintain supply, provide proper warnings, and take such

steps as necessary to ensure that Roundup® products did not cause. users and

consumers to suffer from unreasonable and dangerous risks. Defendant Monsanto

had a continuing duty to warn Otilia Mosqueda of the dangers associated with

Roundup® use and exposure. Defendant Monsanto, as manufacturer, seller, or

distributor of chemical herbicides is held to the knowledge of an expert in the field.

      109. At the time of manufacture, Defendant Monsanto could have provided

the warnings or instructions regarding the full and complete risks of Roundup® and

glyphosate-based formulations because they knew or should have known of the

unreasonable risks of harm associated with the use of and/or exposure to such

products.

      110. At all times relevant to this litigation, Defendant Monsanto failed to

investigate, study, test, or promote-the safety or to minimize the dangers to users and

consumers of this product and to those who would foreseeably use or be harmed by

Roundup, including Otilia Mosqueda.

      111. Despite the fact that Defendant Monsanto knew or should have known

that Roundup® posed a grave risk of harm, it failed to exercise reasonable care to

warn of the dangerous risks associated with use and exposure. The dangerous

propensities of its products and the carcinogenic characteristics of glyphosate, as

described above, were known to Defendant Monsanto, or scientifically knowable to

Defendant Monsanto through appropriate research and testing by known methods,


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at the time it distributed, supplied or sold the product, and not known to end users

and consumers, such as Otilia Mosqueda.

      112. Defendant Monsanto knew or should have known that these products

created significant risks of serious bodily harm to consumers, as alleged herein, and

Defendant Monsanto failed to adequately warn consumers and reasonably

foreseeable users of the risks of exposure to its products. Defendant Monsanto has

wrongl'ully concealed information concerning the dangerous nature of Roundup® and

its active ingredient glyphosate, and further made false and/or misleading statements

concerning the safety of Roundup® and glyphosate.

      113. At all times relevant to this litigation, Defendant Monsanto's Roundup8

products reached the intended consumers, handlers, and users or other persons

coming into contact with these products in Illinois and throughout the United States,

including Otilia Mosqueda, without substantial change in their condition as designed,

manufactured, sold, distributed, labele-d, marketed and stirayed/applied by

Defendant Monsanto.

      114. Otilia Mosqueda was exposed to Roundup® products, as described

above, without knowledge of their dangerous cha-racteristics.

      115. At all times relevant to this litigation, Otilia Mosqueda was exposed to

the use of Defendant Monsanto's Roundup© ptoducts in their intended or reasonably

foreseeable manner without knowledge of their dangerous characteristics.

      116. Otilia Mosqueda could not have reasonably discovered the defects and

risks associated with Roundup® or glyphos ate -based formulations prior to or at the


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time of Otilia Mosqueda's exposure due to this failure to warn. Otilia Mosqueda relied

upon the skill, superior knowledge, and judgment of Defendant Monsanto.

      117. Defendant Monsanto knew or should have known that the minimal

warnings disseminated with or accompanying the application of Roundup® products

were inadequate, but they failed to communicate adequate information on the

dangers and safe use/exposure and failed to communicate warnings and instructions

that were appropriate and adequate to render the products safe for their ordinary,

intended and reasonably foreseeable uses, including agricultural and horticultural

applications.

      118. The information that Defendant Monsanto did provide or communicate

failed to contain relevant warnirigs, hazards, and precautions that would have

enabled those exposed, such as Otilia Mosqueda, to utilize the products safely and

with adequate protection.

      119. instead, Defendant Monsanto disseminated iriformation that was

inaccurate, false, and misleading and which failed to communicate accurately or

adequately the coniparative severity, duration, and extent of the risk of injuries with

use of and/or exposure to Roundup® and glyphosate; continued to aggressively

promote the efficacy of its products, even after it knew or should have known of the

unreasonable risks from use or exposure; and concealed, downplayed, or otheiwvise

suppressed, through aggressive marketing and promotion, any information or

research about the risks and dangers of exposure to Roundup® and glyphosate.

      120. To this day, Defendant Monsanto has failed to adequately and


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     accurately warn of the true risks of Otilia Mosqueda's injuries associated with the

     use of and exposure to Roundup® and its active ingredient glyphosate, a probable

     carcinogen.

            121. As a result of their inadequate warnings, Roundup® products were

     defective and unreasonably dangerous when they left the possession and/or control of

     Defendant Monsanto, were distributed by Defendant Monsanto and when Otilia

     Mosqueda became exposed.

            122. Defendant Monsanto is liable to Otilia Mosqueda for ir_juries caused by

     its failure, as described above, to provide adequate warnings or other clinically

     relevant information and data regarding the appropriate use of their products and

     the risks associated with the use of or exposure to Roundup®, glyphosate and

     glyphosate-based formulations.

            123. The defects in these Roundup® products were substantial and

--   contributing factors in causing Otilia TVlosqueda's injuries; -and, but for Defendant

     Monsanto's misconduct and omissions, Otilia Mosqueda would not have sustained

     her inj uries.

            124. Had Defendant Monsanto provided adequate warnings and instructions

     and properly disclosed and disseminated the risks associated with Roundup®

     products and application, Otilia Mosqueda could have avoided the risk of developing

     injuries as alleged herein.

            125. As a direct and proximate result of Defendant Monsanto placing its

     defective Roundup into the stream of commerce without appropriate warnings as


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further set forth above, Otilia Mosqueda has suffered and continues to suffer

pecuniary loss including without limitation injuries of a personal and pecuniary

nature including, but not limited to hospital, medical, and related expenses; loss of

income; disability and disfigurement; loss of normal life; pain and suffering; risk of

susceptibility and future injury and relapse; and physical and emotional trauma.

      WHEREFORE, the plaintiff, Otilia Mosqueda, asks that a judgment be entered

against the defendant, Monsanto Company, Inc., in a fair and just amount in excess

of SE VENTY-FIVE THOUSAND DOLLARS ($75,000.00) plus costs and any further

relief this court deems just.



                                     COUNT III
                                   NEGLIGENCE
                                (Mosqueda v. Monsanto)

      126. Plaintiff incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.

      127. Otilia Mosqueda developed large, B-cell, non-Hodgkin's lymphoma

which caused her - inter alia pain, suffering, disability, disfigurement, and loss of

normal life as a result of using Monsanto's Roundup products.

      128. Defendant Monsanto, directly or indirectly, caused Roundup® products

to be sold, distributecd, packaged, labeled, marketed, promoted, andlor used by Otilia

Mosqueda.

      129. At all times relevant to this litigation, Defendant Monsanto knew or, in

the exercise of reasonable care, should have known of the hazards and dangers of


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Roundup® and specifically, the carcinogenic properties of the chemical glyphosate.

      130. Accordingly, at all times relevant, Monsanto knew or, in the exercise of

reasonable care, should have known that use of or exposure to its Roundup® products

could cause or be associated with Otilia Mosqueda's injuries and thus created a

dangerous and unreasonable risk of injury to the users of these products, including

Otilia Mosqueda

      131. Defendant Monsanto also knew or, in the exercise of reasonable care,

should have known that users and consumers of Roundup® were unaware of the risks

and the magnitude of the risks associated with use of and/or exposure to Roundup®

and glyphosate-based formulations.

      132. It was the duty of the defendant, Monsanto, before and at the time of

the occurrences, to use ordinary care for the safety of Otilia Mosqueda.

      133. Notwithstanding said duty, the defendant, Monsanto, committed one or

more of the following acts and/or omissions:

         a. Promoted, developed, designed, sold, and/or distributed its Roundup®
             products without thorough and adequate pre-and post-market testing;

         'o. Promoted, developed, designed, sold, and/or distributed Roundup®
             while concealing and failing to disclose the results of trials, tests, and
             studies of exposure to glyphosate, and, consequently, the risk of serious
             harm associated with human use of and exposure to Roundup®;

         c. Failed to undertake sufficient studies and conduct necessary tests to
            determine whether or not Roundup® products and glyphosate-based
            formulations were safe for their intended use in agriculture and
            horticulture;

         d. Failed to use reasonable and prudent care in the design, research,
            manufacture, and development of Roundupm products so as to avoid the
            risk of serious harm associated with the prevalent use of

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        Roundup®/glyphosate as an herbicide;

     e. Failed to design and manufacture Roundup® products so as to ensure
        they were at least as safe and effective as other herbicides on the
        market;

     f. Failed to provide adequate instructions, guidelines, and safety
        precautions to those persons who Defendant Monsanto could reasonably
        foresee would use and be exposed to its Roundup® products;

     g. Failed to disclose to Otilia Mosqueda, users/consumers, and the general
        public that use of and exposure to Roundup® presented severe risks of
        cancer and other grave illnesses;

     h. Failed to warn Otilia Mosqueda, consumers, and the general public that
        the product's risk of harm was unreasonable and that there were safer
        and effective alternative herbicides available to Otilia Mosqueda, and
        other consumers,'

     i. Systematically suppressed or downplayed contrary evidence about the
        risks, incidence, and prevalence of the side effects of Roundup® and
        glyphosate-based formulations;

     j. Represented that its Roundup® products were safe for their intended
        use when, in fact, Defendant Monsanto knew or should have known that
        the products were not safe for their intended purpose;

     k. Declined to make or propose any changes to Roundup® products'
        labeling or other promotional materials that. would alert the consumers
        and the general public of the risks of Roundup® and glyphosate;

     l. Advertised, marketed, and recommended the use of the Roundup®
        products, while concealing and failing to disclose or warn of the dangers
        known by Defendant Monsanto to be associated with or caused by the
        use of or exposure to Roundup® and glyphosate;

     m. Continued to disseminate information to its consumers, which indicate
        or imply that Defendant Monsanto's Roundup® products are not unsafe
        for use in the agricultural and horticultural industries; and/or

     n. Continued the manufacture and sale of its products with the knowledge
        that the products were unreasonably unsafe and dangeious.

  134. As a result of one or more of the above acts and/or omissions, Otilia

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Mosqueda developed large, B-cell, non-Hodgkin's lymphoma.

       135. Defendant Monsanto knew and/or should have known that it was

foreseeable that consumers, such as Otilia Mosqueda, would suffer injuries, including

without limitation non-Hodgkin's lymphoma, as a result of Defendant Monsanto's

failure to exercise ordinary care.

      136. . Otilia Mosqueda did not know the nature and extent of the injuries that

could result from the intended use of and/or exposure to Roundup® or its active

ingredient glyphosate.

      137. Defendant Monsanto's negligence was the proximate cause of the

injuries, harm, and economic losses that Otilia Mosqueda suffered and will continue

to suffer, as described herein.

      138. As a direct and proximate result of Defendant Monsanto's acts and/or

omissions, Otilia Mosqueda has suffered and continues to suffer pecuniary loss

including without limitation injuries of a personal and pecuniary nature including,

but not limited to hospital, medical, and related expenses,' loss of income; disability

and disfigurement; loss of normal life; pain and suffering,' risk of susceptibility and

future injury and relapse; and physical and emotional trauma.

      WHEREFORE, the plaintiff, Otilia Mosqueda, asks that a judgment be entered

against the defendant, lYlonsanto C,ompany, Inc., in a fair and just amount in excess

of SEVENTY-F'IVE THOUSAND DOLLARS ($75,000.00) plus costs and any further

relief this court deems just.

                          DEMAND FOgi, TRIAL BY JURY



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            Plaintiff demands a trial by jury of all issues herein so triable.



      Dated: May 15, 2020                            Respectfully Submitted,


                                                     By:      /s Brvice T. Hensley
                                                              Attorney for the Plaintiff
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